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                                                14
   Fill in this information to identify your case:

   Debtor 1            John Hilburn Davis, IV
                     __________________________________________________________________
                        First Name             Middle Name              Last Name

   Debtor 2             ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name              Last Name


   United States Bankruptcy Court for the: Western District
                                           __________       of Texas
                                                        District of ______________

   Case number            21-10970-hcm
                        ___________________________________________
    (If known)                                                                                                                         ✔ Check if this is an
                                                                                                                                       
                                                                                                                                          amended filing
                                                                                                                                 6(&21'$0(1'('


 2IILFLDO)RUP 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


         Married
        ✔ Not married
        

   2. During the last 3 years, have you lived anywhere other than where you live now?

        No
       ✔ Yes. List all of the places you lived in the last 3 years.
                                                                      Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1      Debtor 2:                                             Dates Debtor 2
                                                                  lived there                                                               lived there

                                                                                       Same as Debtor 1                                      Same as Debtor 1

                  311 Bowie Street
                 __________________________________________       From 12/20/2019
                                                                        ________         ___________________________________________           From ________
                  Number    Street                                                       Number Street
                                                                  To     12/20/2020
                                                                          ________                                                             To    ________
                 #3207
                 __________________________________________                              ___________________________________________

                 Austin                  TX 78703
                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State ZIP Code


                                                                                       Same as Debtor 1                                      Same as Debtor 1

                 7775 Firefall Way
                 __________________________________________       From 07/28/2018
                                                                        ________         ___________________________________________           From ________
                  Number    Street                                                       Number Street
                                                                  To     08/27/2019
                                                                          ________                                                             To    ________
                 #1718
                 __________________________________________                              ___________________________________________

                 Dallas                  TX 75230
                 __________________________________________                              ___________________________________________
                 City                       State ZIP Code                               City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        No
       ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
       


   Part 2: Explain the Sources of Your Income

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Debtor 1        John Hilburn Davis, IV
                _______________________________________________________                                  Case number           21-10970-hcm
                                                                                                                       (if known)_____________________________________
                First Name      Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No                                            DQGLPSXWHGLQFRPHHVWLPDWHVEDVHGRQEHVWDYDLODEOHGDWDVXEMHFWWR
    ✔
          Yes. Fill in the details.                   UHYLHZDQGFKDQJHE\DFFRXQWDQWVHPSOR\HGWRGRDQGWD[UHWXUQV

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income            Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.        (before deductions and
                                                                                         exclusions)                                           exclusions)

                                                            ✔
                                                                Wages, commissions,                                  Wages, commissions,
            From January 1 of current year until
                                                                 bonuses, tips
                                                                                               188,461.56
                                                                                         $________________             bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                 Operating a business

                                                            ✔
                                                                Wages, commissions,                                  Wages, commissions,
            For last calendar year:
                                                                 bonuses, tips                157,395.00
                                                                                         $________________             bonuses, tips           $________________
            (January 1 to December 31,2020
                                       _________)               Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                 Wages, commissions,                                  Wages, commissions,
                                                                 bonuses, tips                                         bonuses, tips
                                                                                                      0.00
                                                                                         $________________                                     $________________
            (January 1 to December 31, 2019
                                       _________)               Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      No
     
     ✔ Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income           Gross income from
                                                            Describe below.              each source               Describe below.             each source
                                                                                         (before deductions and                                (before deductions and
                                                                                         exclusions)                                           exclusions)



            From January 1 of current year until Stock in DBG, Inc $_________________
                                                 __________________                    _____________________
                                                                                                             $_________________
            the date you filed for bankruptcy:   in exchange for un $_________________ _____________________ $_________________
                                                 __________________

                                                 see Schedule A/B $_________________ _____________________ $_________________
                                                 __________________



            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31,2020
                                       ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31,2019
                                       ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




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Debtor 1        John Hilburn Davis, IV
               _______________________________________________________                             Case number           21-10970-hcm
                                                                                                                 (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     ✔
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,* or more?

                   No. Go to line 7.

               ✔
                   Yes. List below each creditor to whom you paid a total of $6,* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/ and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid       Amount you still owe         Was this payment for…
                                                                      payment


                      Digital Brands Group Inc.
                      ____________________________________ 11/05/2021
                                                            _________                      25,000.00 $__________________
                                                                                    $_________________       12,026.56                     Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      4700  S Boyle Ave
                      ____________________________________           _________
                      Number    Street                                                                                                     Credit card
                                                                                                                                           Loan repayment
                      ____________________________________           _________
                                                                                                                                           Suppliers or vendors
                      Vernon            CA 90058
                      ____________________________________                                                                                ✔ Other ____________
                      City                    State       ZIP Code                                                                        
                                                                                                                            DGYDQFHVSD\PHQWVWRDQGIURPRIILFHU


                      Kessler  & Collins**
                      ____________________________________           _________             37,982.15 $__________________
                                                                                    $_________________             0.00       Mortgage
                      Creditor’s Name
                                                                                                                              Car
                      ____________________________________           _________                                                Credit card
                      Number    Street                                               SDLGE\'%*,RQ
                      2100  Ross Ave., Suite 750
                                                                                                                              Loan repayment
                      ____________________________________           _________
                                                                                                                              Suppliers or vendors
                      Dallas            TX      75201                                                                        ✔ Other Legal    Fees
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                    ____________




                      ____________________________________           _________      $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________           _________                                                             Credit card
                      Number    Street

                                                                                                                                           Loan repayment
                      ____________________________________           _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                           Other ____________



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                   _______________________________________________________                           Case number           21-10970-hcm
                                                                                                                   (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.
     ✔
          No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
     ✔
          Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount     Amount you still    Reason for this payment
                                                                       payment        paid             owe
                                                                                                                           Include creditor’s name

            L. A. and K. Harper Davis
            ____________________________________________              _________         7,384.92 $____________
                                                                                     $____________  32,617.79             Monthly payment of insurance
            Insider’s Name                                                                                                premiums per Decree of
                                                                                                                          Divorce's Child Support
            ____________________________________________              _________
            Number        Street                                                                                          requirements until daughters
                                                                                                                          graduate from high school in
            ____________________________________________              _________                                           May of 2026.
            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




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Debtor 1         John Hilburn Davis, IV
                _______________________________________________________                                        Case number             21-10970-hcm
                                                                                                                             (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.
     ✔
          No
          Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                  Status of the case



            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                             Pending

                                                                                                                                                             On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                     Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State    ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                             Pending

                                                                                                                                                             On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                     Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State    ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.
     ✔ No. Go to line 11.
     
      Yes. Fill in the information below.
                                                                              Describe the property                                      Date          Value of the property



                 _________________________________________                                                                               __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                      Date            Value of the property



                                                                                                                                        __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________
                 City                               State   ZIP Code
                                                                                  Property was garnished.
                                                                                  Property was attached, seized, or levied.



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Debtor 1          John Hilburn Davis, IV
                  _______________________________________________________                                Case number           21-10970-hcm
                                                                                                                       (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ✔
          No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                           Date action      Amount
                                                                                                                                 was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                              ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     ✔
          No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     ✔
          No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                              Dates you gave       Value
            per person                                                                                                           the gifts



           ______________________________________                                                                                _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                                _________          $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                              Dates you gave      Value
           per person                                                                                                            the gifts


           ______________________________________                                                                                _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                                _________          $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1           John Hilburn Davis, IV
                   _______________________________________________________                                       Case number              21-10970-hcm
                                                                                                                               (if known)_____________________________________
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ✔
          No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                          Date you          Value
            that total more than $600                                                                                                      contributed



           _____________________________________                                                                                           _________         $_____________
           Charity’s Name


           _____________________________________                                                                                           _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     ✔ No
     
      Yes. Fill in the details.
            Describe the property you lost and                       Describe any insurance coverage for the loss                          Date of your      Value of property
            how the loss occurred                                                                                                          loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property.


                                                                                                                                           _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     ✔
          Yes. Fill in the details.

                                                                     Description and value of any property transferred                     Date payment or   Amount of payment
            Rochelle  McCullough, LLP
            ___________________________________                                                                                            transfer was
            Person Who Was Paid                                                                                                            made

            325  N. St. Paul Street                                Bankruptcy Retainer for Chapter 7 Filing
            ___________________________________
            Number       Street                                                                                                            12/15/2021
                                                                                                                                           _________               5,000.00
                                                                                                                                                             $_____________

            Suite 4500
            ___________________________________
                                                                                                                                           _________         $_____________
            Dallas              TX     75201
            ___________________________________
            City                         State    ZIP Code

            pkeiffer@romclaw.com
            ____________________________________________
            Email or website address
            John  Hilburn Davis IV
            ___________________________________
            Person Who Made the Payment, if Not You



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                  _______________________________________________________                                   Case number           21-10970-hcm
                                                                                                                          (if known)_____________________________________
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                    transfer was made     payment

           ____________________________________
           Person Who Was Paid
                                                                                                                                    _________            $_____________
           ____________________________________
           Number       Street

                                                                                                                                    _________            $_____________
           ____________________________________

           ____________________________________
           City                        State    ZIP Code



           ________________________________________________
           Email or website address

           ___________________________________
           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     ✔ No
     
      Yes. Fill in the details.
                                                                   Description and value of any property transferred                Date payment or      Amount of payment
                                                                                                                                    transfer was
           ____________________________________                                                                                     made
           Person Who Was Paid

           ____________________________________                                                                                     _________            $____________
           Number        Street

           ____________________________________
                                                                                                                                    _________            $____________
           ____________________________________
           City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     ✔ No
     
      Yes. Fill in the details.
                                                                   Description and value of property        Describe any property or payments received      Date transfer
                                                                   transferred                              or debts paid in exchange                       was made
           ___________________________________
           Person Who Received Transfer

           ___________________________________                                                                                                              _________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code


           Person’s relationship to you _____________

           ___________________________________
           Person Who Received Transfer
                                                                                                                                                            _________
           ___________________________________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code

           Person’s relationship to you _____________

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                   _______________________________________________________                                   Case number            21-10970-hcm
                                                                                                                            (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ✔
          No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                         Date transfer
                                                                                                                                                             was made


                                                                                                                                                             _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     ✔
          No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or          Date account was       Last balance before
                                                                                                       instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                   or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                Checking                  _________              $___________
            ____________________________________
            Number       Street
                                                                                                        Savings
            ____________________________________                                                        Money market
            ____________________________________
                                                                                                        Brokerage
            City                       State    ZIP Code
                                                                                                        Other__________

            ____________________________________                   XXXX–___ ___ ___ ___                Checking                  _________              $___________
            Name of Financial Institution
                                                                                                        Savings
            ____________________________________
            Number       Street                                                                         Money market
            ____________________________________                                                        Brokerage
            ____________________________________                                                        Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     ✔ No
     
      Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                         Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                    No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                    Yes

            ____________________________________                  _______________________________________                                                        
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1            John Hilburn Davis, IV
                    _______________________________________________________                                              Case number           21-10970-hcm
                                                                                                                                       (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
          No
    ✔
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                         Do you still
                                                                                                                                                                            have it?
                                                                                                                             Historic paperwork and files, a
            Public Storage
            ___________________________________                      _______________________________________                 box spring and mattress and                     No
             Name of Storage Facility                                Name
                                                                                                                             books                                          ✔ Yes
                                                                                                                                                                            
            2121  South IH-35
            ___________________________________                      _______________________________________                                                                
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
            Austin             TX
            ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     ✔ No
     
      Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                     Value


             ___________________________________
             Owner’s Name                                                                                                                                               $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     ✔
          No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                    Date of notice



            ____________________________________                    _______________________________                                                                     _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code




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Debtor 1           John Hilburn Davis, IV
                   _______________________________________________________                                             Case number           21-10970-hcm
                                                                                                                                     (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     ✔ No
     
      Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number        Street                                  Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ✔
          No
          Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                         Pending
           ______________________________________
                                                                                                                                                                         On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                   Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code                                                        

 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           
            A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           
           ✔ An owner of at least 5% of the voting or equity securities of a corporation
           
      No. None of the above applies. Go to Part 12.
     ✔ Yes. Check all that apply above and fill in the details below for each business.
     
                                                                    Describe the nature of the business                               Employer Identification number
            See  attached Exhibit 27
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From      _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


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Debtor 1           John Hilburn Davis, IV
                   _______________________________________________________                                Case number           21-10970-hcm
                                                                                                                        (if known)_____________________________________
                   First Name      Middle Name          Last Name




                                                                                                                         Employer Identification number
                                                                Describe the nature of the business
                                                                                                                         Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                Name of accountant or bookkeeper                         Dates business existed

            ____________________________________

            ____________________________________                                                                         From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     ✔
          No
          Yes. Fill in the details below.

                                                                Date issued



            ____________________________________                ____________
            Name                                                MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



      8     ______________________________________________                    8_____________________________
            Signature of Debtor 1       -RKQ+LOEXUQ'DYLV,9                   Signature of Debtor 2


                   02/16/2022
            Date ________________                                                Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
      ✔
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      ✔ No
      
       Yes. Name of person_____________________________________________________________.                       Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119).




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                                                  SOFA Exhibit 9

  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action,
  or administrative proceeding? List all such matters, including personal injury cases, small claims actions, divorces,
  collection suits, paternity actions, support or custody modifications, and contract disputes.


   Case Title / Case Number                  Nature of Case                     Agency                   Status
   Cause No. DC-18-06338                     Suit on Promissory                 95th Judicial District   Concluded
                                             Note                               Court, Dallas County,
   Bryan Begley v. John                                                         Texas
   Hilburn Davis, 1V                                                            600 Commerce St.
                                                                                #640
                                                                                Dallas, TX 75208

   Cause No. DC-19-20131                     Breach of Guaranty                 192nd Judicial           Concluded
                                                                                District Court, Dallas
   BKIND Concert Lending, LLC                                                   County, Texas
   v. John Hilburn Davis IV
                                                                                600 Commerce St.
                                                                                #692
                                                                                Dallas, TX 75202
   Cause No. DC-18-07098                     Buaite Againn, LLLP –              192nd Judicial           Concluded
                                             suit on $3,000,000.00              District Court, Dallas
   Buaite Againn, LLLP,                      Promissory Note                    County, Texas
   Plaintiff, and J. Hilburn, Inc.,
   Plaintiff-in-Intervention v.     J. Hilburn Intervention                     600 Commerce St.
   John Hilburn Davis, IV and       - stock certificate to                      #692
   Layn, Ltd.                       Layn, numbered C-26                         Dallas, TX 75202
                                    representing 1,569,019
                                    shares of J. Hilburn
                                    common stock used to
                                    secure Buaite Againn
                                    Promissory Note
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                                               SOFA Exhibit 27

  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
  business?



   Business Name                     Connection                  Employer          Name of accountant or   Dates business
                                                                 Identification    bookkeeper              existed
                                                                 No.
   Digital Brands Group, Inc.        Chief Executive             XX-XXXXXXX        Reid Yeoman             02/06/2013
   537 Broadway                      Officer, Denim.la Inc.                                                2/28/2021
   Los Angeles, CA 90014

   SKL Prime Service LLC             20% Ownership                                                         03/03/2008
   1121 108th St                     Interest                                                              Dissolved:
   Arlington, TX 76011                                                                                     11/05/2021

   J. Hilburn, Inc.                  8% Ownership
   883 Trinity Drive                 Interest
   Lewisville, TX 75056

   Layn Management, LLC              Member                                                                12/20/2012
                                     50% Ownership                                                         02/28/2020
                                     Interest

   Layn, Ltd.                        49.995% Limited                                                       01/24/2013
                                     Partnership Interest                                                  02/28/2020
